             Case 8:21-cr-00348-DLB Document 64 Filed 11/07/23 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *
                                                 *
                  v.                             *    CRIMINAL NO. DLB-21-0348
                                                 *
BRIAN MCQUADE                                    *
                                                 *
                                              *******

                                    JOINT STATUS REPORT

        The United States of America, by and through its attorneys, having conferred with counsel

for Defendant Brian McQuade as to all of these points, hereby files this Joint Status Report:

        1.       On September 2, 2021, a grand jury returned an indictment charging the Defendant

with wire fraud, in violation of 18 U.S.C. § 1343.

        2.       On October 14, 2022, the Defendant, through counsel, filed a motion for a hearing

on his competency in accordance with 18 U.S.C. § 4241(a). ECF No. 34. On December 6, 2022,

the Court entered an order designating Dr. Michael O’Connell to conduct a psychological

examination of the Defendant pursuant to 18 U.S.C. §§ 4241 and 4247. On or about December

13, 2022, Dr. O’Connell provided a report to the Court and counsel for the parties in which Dr.

O’Connell concluded, at that time, that the Defendant was competent to stand trial.

        3.       During a proceeding on January 25, 2023, the Defendant provided notice that he

was taking the position that he was not competent to stand trial and would seek further proceedings

on this issue.

        4.       Medical records provided by Defense Counsel documented that Mr. McQuade was

hospitalized in early March 2023 and again from April 22 to May 17, 2023, and has resided in

skilled nursing facilities since.

        5.       On August 16, 2023, defense counsel provided an expert report from Dr. Thomas

                                                 1
            Case 8:21-cr-00348-DLB Document 64 Filed 11/07/23 Page 2 of 3



Hyde. Dr. Hyde opined, among other things, that the Defendant is incompetent to continue

participation in ongoing legal proceedings, the Defendant has a progressive neurodegenerative

disorder, and the Defendant’s condition would worsen over coming months.

       6.      On October 5, 2023, the Court ordered Dr. O’Connell to conduct an additional

psychological examination of the Defendant pursuant to 18 U.S.C. §§ 4241 and 4247. On

October 18, 2023, Dr. O’Connell submitted a forensic psychological evaluation report in which

Dr. O’Connell found that the Defendant met the diagnostic criteria for Major Neurocognitive

Disorder due to Multiple Etiologies, to include stroke and a neurodegenerative disorder, and that

there is a consensus he has a neurodegenerative disease that is irreversible. Dr. O’Connell

concluded that the Defendant is presently incompetent to stand trial.

       7.      As reflected in Dr. O’Connell’s report, the Defendant is in a skilled nursing facility,

bedbound, receiving hospice care, and has marked difficulties sustaining arousal and attention as

well as communicating. As a result of these circumstances, the Defendant is physically unable to

attend court proceedings and is medically unavailable within the meaning of 18 U.S.C.

§§ 3161(h)(3)(A) and (4).

       8.      On November 1, 2023, the Court held a telephonic status conference. Consistent

with this conference, the parties propose to provide status reports to the Court at three-month




                                                 2
         Case 8:21-cr-00348-DLB Document 64 Filed 11/07/23 Page 3 of 3



intervals, with the next status report to be due on February 1, 2024. Defense counsel will update

the Court should the Defendant’s condition change before that date.


                                                Respectfully submitted,

                                                Erek L. Barron
                                                United States Attorney

                                     By:                 /s/
                                                Jessica C. Collins
                                                Adam K. Ake
                                                Assistant United States Attorneys




                                               3
